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                                 UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF INDIANA
                                       FORT WAYNE DIVISION

IN THE MATTER OF                          )
                                          )        BANKRUPTCY CASE 18-11219
TYLYNN WALTERS MOORE                      )             Chapter 7
            Debtor.                       )

                                        TRUSTEE’S INVENTORY
                                       AND REQUEST FOR NOTICE

        Comes now Yvette Gaff Kleven, duly qualified Trustee of the above-captioned Debtor’s estate, and

hereby submits this inventory and report of property of the estate of the Debtor.

        All of the non-exempt assets of the estate of which she is presently aware, together with

approximate values (exact values for assets in the Trustee’s possession), but with no value shown where

valuation is problematical, or possession disputed, are as follows:

         Real Estate

        This inventory and report of property is made pursuant to Federal Rule Of Bankruptcy Procedure

2015 and lists the entirety of the estate. Some of the property listed, or portions thereof, may not

materialize into assets of the estate of sufficient value to economically reduce to cash.

        Pursuant to Federal Rule of Bankruptcy Procedure 3002(c)(5), I request that the Bankruptcy Clerk

notify creditors that a payment of dividend appears possible in this case. I certify under the penalty of

perjury that the foregoing inventory and report of property of the estate is true.

        Dated:    August 14, 2018                  /S/Yvette Gaff Kleven, #8373-02
                                                   Yvette Gaff Kleven, Chapter 7 Trustee
                                                   111 West Wayne Street
                                                   Fort Wayne, Indiana 46802
                                                   Telephone: (260) 407-7077
                                                   ygk@adelspergerkleven.com
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                                      CERTIFICATE OF SERVICE

                The undersigned hereby certifies that on August 14, 2018, a true and correct copy of the

above and foregoing Trustee’s Inventory Of Assets Of Estate was transmitted electronically through the

Bankruptcy Court’s ECF System to:

United States Trustee, USTPRegion10.SO.ECF@usdoj.gov

Steven J. Glaser, Attorney at Law, glaser.bankruptcy@frontier.com



                                                /S/Yvette Gaff Kleven, #8373-02
                                                Yvette Gaff Kleven, Chapter 7 Trustee
                                                111 West Wayne Street
                                                Fort Wayne, Indiana 46802
                                                Telephone: (260) 407-7077
                                                ygk@adelspergerkleven.com
